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            6                                 UN ITED STAT ES DISTRIC T C O U RT
                7                                    D ISTR ICT O F NEV A DA

                8 UNITED STATESOFAMERICA,                            )
                                                                     )   .
                9                       Plaintiff,                   )                                             .
                                                                     )                .
            10             v.                                '       )       2:1I-CR-OIS-LDG IPALI
                                                                     )
            11 KELLY BIRM ELE,
            '
                                                                     )
                                                                     )                                                 '
            12        .                 Defendant.                   )
            13                              PRELIM IN A R Y O R DER O F FO RFEITUR E
            14            ThisCourtfmdsthatonlunezl,2011,defendantll.
                                                                    El
                                                                     LLr'
                                                                        YBllLM ELEpledguiltytoCotmtOne
            l5 ofanEighteen CountCriminalIndictm entchargingherwith ConspiracytoDistributeLess'
                                                                                              Than 50

            16 KilogramsofM ari
                              juana,inviolationofTitle21,UnitedStatesCode,Secions841(a)(a),(b)(1)(D),
            17 and 846.Docket#         ..            '

            18            ThisCourtfindsdefendantrwELt,'
                                                       Y'BlRM ELE agreedtotheforfeitureofthepropertysetforth
        '

            19 in ForfeitureAllegationsoftheCrim inalIndictment.#42.

            20             This Courtfinds,pursuantto Fed.R.Crim.P.32.209(1)and (2),the United Statesof
            21 Am erica has show a the requisitenexusbetaveen property setforth in the Forfeiture Allegationsof
            22 tlle Clim inallndictm entand the offensesto which defendantKELLY BIRM ELE pled guilty.

            23             The following assetsare subjectto forfeiturepursuantto Title 21,United StatesCode,
I           24 Sectionss41(a)(1),(b)(1)(C),and(b)(1)(D);846,artd853(a)(1).                                     .


            25      ...                                          .   .




            26      ...
!
!
             Case 2:11-cr-00015-LDG-PAL          Document 111       Filed 06/21/11    Page 2 of 3
!                                                                             .




     1          a.     $2,015.00 in U.S.Cu'rrency;
     2          b.     $1,207.00 in U .S.Curreécy;
     3          c.     $48,920.00in U.S.Currency;                                               '
     4          d.     a Ruger ,38 cal.Revolver,bearing serialnum ber540-48039;

     5          e.     ATaurusPT709,9rnm semi-automatichandgun,bearing serii numberT170823734
     6                 and

     7          f,     anyandallamrnuniuontEopropert/'l.
     8          'Ihis Courttindsthe United Sàtes ofAmerica isnow entitled to, and should,reduce the
     9 aferementioned propertyto thepossession oftheUnited SutesofAmerica,
    10          NO W THEREFORE,ITISHEREBY ORDERED,ADJUDGED,AND DECREED +atIe
                                                                                                    '
    11 U nited States ofAm erica should seize the aforem entioned property.

    12          IT ISFURR-HER ORDERED,ADJUDGED ,AND DECREED a11right title, andinterestof
    13 KELLY BIRM ELE intheaforementionedpropezty isforfeited andisvested intheUnitedStatesof
                                                                                                                 r
    14 A                                                                                                         :
          mericaarldshallbesafelyheldbytlleUnitedSutesofAmericauntilfurtherorderoftheCouzt                       j
                                                                                                                 !
    15          ITIS FURTHER ORDERED,ADJUDOED,AND DECREED theunitedStatesofAm erica                              i
                                                                                                                 !

    16 shallpublishforatleastthirty(30)consecutivedaysontheofficialinternetgovernmentforfeimre                   1
                                                                                                                 i
    17 website, w wm forfeitareagov,notioe ofthisOrder,which shalldescribetheforfeited property, state           1
                                                                                                                 ;
    18 thetimeundertheapplicablesututewhenapetition contestingtheforfeituremustbefiled, and state
    19 the nam e and contact infonnation for tlze governmentattorney to be served with the petition,

    20 pursuanttoFed.R.Crim.P.32,2(b)(6)arldTitle21,UnitedStatesCode,Section853(n)(2).                   '
    21          IT IS FURTHER ORDERED,ADJUDUED,AND DECREED a petition,ifany, m ustbe
    22 filed witllthe Clerk oftheCoult 333LasVegasBoulevard South,LasVegas, N evada 89101.

    23          IT ISFURTHER ORDERED,ADJUDGED ,M fD DECREED acopy ofthepetition, ifarly,                     '
    24 shallbeservedupontheAssetForfeitureAttorney oftheUnited StatesAtiorney'sOffice atthe
    25 following addressatthe tim e oftiling:

    26                                                 z




                                                .                                                            '
                                                                                                                    I
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               Case 2:11-cr-00015-LDG-PAL         Document 111             Filed 06/21/11             Page 3 of 3   i
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                                                                                                                    !
                                                                                                                    !
        1                M ichaelA .H um pllreys
                         A ssistantUnited StatesA ttorney
        2                DanielD.Hollingsworth
                         A ssistarltUztited StatesAttorney
        3                Lloyd D.GeorgeUnited SGtesCourthouse
                         333 Lms VegmsBoulevard Sotlth,Suite 5000
        4                LasV egas,N evada 89101                                       .
        5         IT IS FU RTHER ORDERED ,A DJUD GED ,A N D DECREED the notice described herein

        6 need notbepublished in theeventaDeclaration ofForfeitureisissued by the appropriateagency
        7 following publicationofnoticeofseizureand intentto admiriiskatively forfeittheabove-described
        8 property.                                                                               .
    '   9         DA TED this        /dayof           .               ,   2011.
                                                                                                ,J'
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                                                                                                .
        10                                                     ?'WR
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        11                                                '                    l / /J
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                                                          ITBD ST TES DIS RICT JUD
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